             Case 2:20-cv-00357-GEKP Document 5 Filed 02/13/20 Page 1 of 2



                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANTON PURISIMA, et al.,
    Plaintiffs

        v.                                              CIVIL NO. 20-CV-357

CITY OF PHILADELPHIA, et al.,
     Defendants.

                -                              ORDER

        AND NOW, this/ ~ f February, 2020, upon consideration of Plaintiff Anton

Purisima's Motion to Proceed In Forma Pauperis (ECF No. 1), and Complaint (ECF No. 2) it is

ORDERED that:

        1.          Leave to proceed informapauperis is GRANTED pursuant to 28 U.S.C. § 1915.

        2.          The Complaint is DEEMED filed.

        3.          The Complaint is DISMISSED WITHOUT PREJUDICE for the reasons in the

Court's Memorandum.

        4.          The United States of America is DISMISSED WITHOUT PREJUDICE as a

party in this matter.

        4.          Mr. Purisima may file an amended complaint within thirty (30) days of the date of

this Order. Any amended complaint must identify all defendants in the caption of the amended

complaint in addition to identifying them in the body of the amended complaint and shall state

the basis for Mr. Purisima's claims against each defendant. The amended complaint shall be a

complete document that does not rely on the initial Complaint or other papers filed in this case to

state a claim. When drafting his amended complaint, Mr. Purisima should be mindful of the

Court's reasons for dismissing the claims in his initial Complaint as explained in the Court's
            Case 2:20-cv-00357-GEKP Document 5 Filed 02/13/20 Page 2 of 2



Memorandum. Upon the filing of an amended complaint, the Clerk shall not make service until

so ORDERED by the Court.

       5.       The Clerk of Court is DIRECTED to send Mr. Purisima a blank copy of this

Court's current standard form to be used by a self-represented litigant filing a civil action bearing

the above-captioned civil action number. Mr. Purisima may use this form to file his amended

complaint ifhe chooses to do so.

       6.       If Mr. Purisima fails to file an amended complaint in accordance with this Order,

his case may be dismissed without further notice for failure to prosecute.

                                              BY THE COURT:
